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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

                                     )
MASSACHUSETTS PREMIER SOCCER, )
LLC, d/b/a “Global Premier Soccer,”  )
                                     )
              Plaintiff              )
                                     )
              v.                     )             Civil Action No. 1:20-cv-10430-JCB
                                     )
SAN DIEGUITO SURF SOCCER CLUB, )
INC., d/b/a “New England Surf Soccer )
Club,” “South Carolina Soccer Club,” )
and “San Diego Surf Soccer Club,”    )
LUKE KRAWCZYK, and                   )
ANDREW PROSSER,                      )
                                     )
              Defendants,            )
                                     )

  MOTION TO SUBSTITUTE CORPORATE DEFENDANT WITHOUT PREJUDICE

       For the reasons set forth in the accompanying memorandum, Plaintiff Massachusetts

Premier Soccer LLC, d/b/a “Global Premier Soccer” (“GPD”) respectfully moves this Court to

substitute Surf Cup Sports, LLC for San Dieguito Surf Soccer Club, Inc.

                                            Respectfully submitted,

                                            /s/Phillip Rakhunov
                                            Barry S. Pollack (BBO#642064)
                                            Phillip Rakhunov (BBO#663746)
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Dated: March 10, 2020                       prakhunov@psdfirm.com
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                                     Certificate of Service

        The undersigned certifies that this document, filed through the ECF system, will be
electronically served on counsel who are registered users of ECF on March 10, 2020.



                                                            /s/ Phillip Rakhunov




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